           Case 1:20-cv-01138-DAT Document 7 Filed 09/14/20 Page 1 of 3




           In the United States Court of Federal Claims
                                           No. 20-1138
                                    Filed: September 14, 2020
                                   NOT FOR PUBLICATION


    ELVIS IRIZARRY,

                     Plaintiff,

    v.

    THE UNITED STATES,

                     Defendant.


                                              ORDER
TAPP, Judge.
         Against a backdrop of “murder, arson, armed robbery, drug trafficking, and the
extortionate collection of debts,” pro se Plaintiff Elvis Irizarry (“Irizarry”) seeks release from
prison and compensation based upon a litany of constitutional, statutory, and procedural claims
relating to his racketeering convictions in the District of New Jersey. United States v. Irizarry,
341 F.3d 273, 278 (3d. Cir. 2003). Irizarry’s crimes are well documented. Those convictions
arose from Irizarry’s involvement in an organized crime crew operating out of Jersey City, New
Jersey, over a span of several years. See id. He is serving a life sentence, plus 85 years. United
States v. Irizarry, 2014 WL 7331940, at *1 (D.N.J. 2014). Irizarry’s convictions have withstood
direct appeal, two petitions for certiorari, and two collateral attacks. Id. (collateral attack);
Irizarry, 341 F.3d 273 (direct appeal); Irizarry v. United States, 540 U.S. 1140 (2004) (denying
cert.); Irizarry v. United States, 552 U.S. 916 (2007) (denying cert.); Irizarry v. United States,
2005 WL 3544687 (D.N.J. 2005) (collateral attack). 1 In addition to these suits and the present
action, Irizarry filed a second, nearly identical complaint in this Court, which was dismissed sua
sponte for lack of subject matter jurisdiction and failure to state a claim. Irizarry v. United States,
20-cv-1139 (Sept. 10, 2020) (Hertling, J.).
        In the scattergun Complaint now pending before this Court, Irizarry claims that the
actions of the District Court, which resulted in his conviction and imprisonment, are “void”
because they were not supported by “substantial evidence.” (Compl. at 1, ECF No. 1). He further
claims that his current incarceration violates Article I of the U.S. Constitution; the Fourth, Fifth,
Sixth, and Thirteenth Amendments; and 28 U.S.C. § 2241. (Id. at 2). Lastly, Irizarry alleges he is
imprisoned in violation of a multitude of statutes. (Id.). These errors, Irizarry claims, entitle him
1
  In the most recent opinion rejecting Irizarry’s collateral attack, the District Court characterized
the pending case as Irizarry’s third collateral attack, the prior two having been filed in 2005 and
2010. Irizarry, 2014 WL 7331940, at *1 (D.N.J. 2014). This Court can only identify a total of
two—the most recent in 2014 and the original in 2005.
          Case 1:20-cv-01138-DAT Document 7 Filed 09/14/20 Page 2 of 3




to a “setoff” in which the Court should “set aside” the judgment of the District Court. (Id.).
Irizarry errs.
        Though not unfamiliar with the procedure of federal courts, Irizarry’s prior experiences
have been more directly related to his Indictment and the ancillary civil proceedings. This action,
though also related to his convictions, is categorically distinct. The Court recognizes that a pro se
plaintiff’s pleadings are generally held to “less stringent standards” than those of a professional
lawyer. Haines v. Kerner, 404 U.S. 519, 520–21 (1972) (requiring that allegations contained in a
pro se complaint be held to “less stringent standards than formal pleadings drafted by lawyers”).
However, the Court cannot extend this leniency to relieve Irizarry of his jurisdictional burden.
Kelley v. Sec’y, U.S. Dep’t of Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987). Whether a court has
jurisdiction is a threshold matter in every case. See Steel Co. v. Citizens for a Better Env’t, 523
U.S. 83, 94–95 (1998). “If the Court determines at any time that it lacks subject-matter
jurisdiction, the court must dismiss the action.” RCFC 12(h)(3). That is the situation here. Folden
v. United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004) (court may act sua sponte when
jurisdiction lacking) (citing Fanning, Phillips & Molnar v. West, 160 F.3d 717, 720 (Fed. Cir.
1998)).
        “The Court of Federal Claims is a court of limited jurisdiction.” Marcum LLP v. United
States, 753 F.3d 1380, 1382 (Fed. Cir. 2014). This Court resolves disputes over access to the
federal government’s wallet. The Tucker Act is the primary statute conferring jurisdiction on this
Court. The Tucker Act waives sovereign immunity for claims (1) founded on an express or
implied contract with the United States; (2) seeking a refund for a payment made to the
government; and (3) arising from federal constitutional, statutory, or regulatory law mandating
payment of money damages by the United States government. Ontario Power Generation, Inc. v.
United States, 369 F.3d 1298, 1301 (Fed. Cir. 2004); see also United States v. Navajo Nation,
556 U.S. 287 (2009); United States v. Mitchell, 463 U.S. 206 (1983). Standing alone, however,
the Tucker Act itself does not create a substantive right enforceable against the United States.
Ferreiro v. United States, 501 F.3d 1349, 1351 (Fed. Cir. 2007). To come within jurisdictional
reach, “a plaintiff must identify a separate source of substantive law that creates the right to
money damages.” Fisher v. United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005).
        A constitutional provision or statute is money mandating if it “can fairly be interpreted as
mandating compensation by the Federal Government.” United States v. Navajo Nation, 556 U.S.
287, 290 (2007) (quoting United States v. Testan, 424 U.S. 392, 400 (1976)). None of the
Constitutional provisions under which Irizarry claims entitlement to relief are money mandating.
Article I, Section 8, clause 10 provides: “The Congress shall have Power . . . To define and
punish Piracies and Felonies committed on the high Seas, and Offences against the Law of
Nations.” Article I, Section 8, clause 17 provides for Congressional authority over federal
property including “for the Erection of Forts, Magazines, Arsenals, dock-Yards, and other
needful Buildings.” Article IV, Section 2, clause 2 is likewise unavailing. It provides: “The
Congress shall have Power to dispose of and make all needful Rules and Regulations respecting
the Territory or other Property belonging to the United States; and nothing in this Constitution
shall be so construed as to Prejudice any Claims of the United States, or of any particular State.”
Id. Lastly, Irizarry’s reliance on Article VI is misplaced. Article VI deals with the debts incurred
by the United States prior to enactment of the Constitution, the supremacy clause, the
requirement of oaths, and the prohibition against religious tests for public officers. See U.S.
Const. art. IV. Moreover, none of the provisions of the Amendments cited by Irizarry can be


                                                 2
          Case 1:20-cv-01138-DAT Document 7 Filed 09/14/20 Page 3 of 3




construed as mandating financial compensation. See Brown v. United States, 105 F.3d 621, 623
(Fed. Cir. 1997) (Fourth Amend.); Crocker v. United States, 125 F.3d 1475, 1476 (Fed.Cir.1997)
(Fifth Amend. Due Process); Gable v. United States, 106 Fed. Cl. 294, 298 (2012) (citing Dupre
v. United States, 229 Ct. Cl. 706, 706 (1981)) (Sixth Amend.); Gibson v. United States, 121 Fed.
Cl. 215 (2015) (citing Johnson v. United States, 79 Fed. Cl. 769, 774 (2007)) (Thirteenth
Amend.).
         Irizarry’s extensive citations to various statutes is no more compelling than his catalogue
of constitutional provisions. The criminal code provisions relied upon by Irizarry define the
territorial jurisdiction of the United States (18 U.S.C. §§ 5, 7), the United States courts and their
powers (18 U.S.C. §§ 23, 3041), the contents of detention orders (18 U.S.C. § 3142(i)), the
jurisdiction of United States courts in criminal cases (18 U.S.C. § 3231), and application of the
sentencing guidelines. (18 U.S.C. § 3553(b)). These statutes provide no basis for inclusion within
the circumscribed jurisdiction of this Court. Irizarry’s remaining reference to 28 U.S.C. §
2241(c)(3) is simply the codification of the “great writ” and likewise does not confer jurisdiction
upon this Court. 2 Put simply, Irizarry’s Complaint is not a dispute over monies owed by the
government. Where, as here, the Constitutional and statutory provisions relied upon by a plaintiff
are not money-mandating, the Court of Federal Claims lacks jurisdiction and the Complaint must
be dismissed for lack of subject matter jurisdiction. Jan’s Helicopter Serv., Inc. v. Fed. Aviation
Admin., 525 F.3d 1299, 1308 (Fed. Cir. 2008) (citing Greenlee Cnty., Ariz. v. United States, 487
F.3d 871, 876 (Fed. Cir. 2007)).
        Lastly, it is not the role of this Court to review the decisions of the district courts.
Shinnecock Indian Nation v. United States, 782 F.3d 1345, 1352–53 (Fed. Cir. 2015). The
frustration of a criminal defendant, repeatedly rebuffed in his attempts to garner his forfeited
freedom, cannot magnify the role of this Court to bypass those venues where his crimes were
tried, and judgment imposed. For the aforementioned reasons, Irizarry’s Complaint must be
dismissed. The Clerk of the Court is directed to enter judgment accordingly. No costs are
awarded.

       IT IS SO ORDERED.

                                                                      David A. Tapp
                                                                     DAVID A. TAPP, Judge




2
 See Ex parte Bollman, 8 U.S. (4 Cranch) 75, 96 (1807) (first describing the writ of habeas
corpus as the “great writ”).


                                                 3
